923 F.2d 850Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Floyd J. WILMOTH, Petitioner,v.DIRECTOR, OFFICE OF WORKERS COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Western MarylandRailway Company, Respondents.
    No. 89-1537.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 2, 1990.Decided Jan. 17, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-818-BLA)
      Floyd J. Wilmoth, petitioner pro se.
      Priscilla Anne Schwab, Barbara J. Johnson, United States Department of Labor, Washington, D.C., Sharon Easthom Rowsey, Huddleston, Bolen, Beatty, Porter &amp; Copen, Ashland, Ky., for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before SPROUSE, CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Floyd J. Wilmoth seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record and the Board's decision and order discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.*   Wilmoth v. Director, OWCP, 88-818-BLA (Aug. 31, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Western Maryland Railway Company's motion to dismiss is denied
      
    
    